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                        UN ITED STATES DISTRICT COURT FOR THE
                             SOUTHERN DISTRICT OF FLORIDA
                                     M iamiDivision

                           CaseNum ber:15-24492-C1V-M 0% N0
                                  12-20071-CR -SEITZ

 FRANCISCO CUBERO,

               M ovant,
 VS.

 UNITED STATES OF AM ERICA,

               Respondent.


                                    FIN AL JU D G M ENT

        Pursuantto Federal Rules of Civil Procedure 58 and 54, and in accordance with the

 Court's denial of M ovant's M otion to V acate pursuant to 28 U .S.
                                                                   C.2255,finaljudgmentis
 entered in favorofRespondent.

        ADJUDG ED thatallpending motions in thiscase are DEN IED AS M OOT in lightof

 this Court'sOrderD enying M otion to V acate Judgm ent.

        D ON E AN D O RDERED in Cham bers atM iam i,Florida,this       ofJuly 2017.
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                                           UN ITE STA TES D ISTRICT JU D G E

 Copies furnished to:
 CounselofRecord
